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                Exhibit C
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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE                                  MDL No. 1456
LITIGATION
                                                         CIVIL ACTION: 01-CV-12257-PBS
THIS DOCUMENT RELATES TO ALL
CLASS ACTIONS RELATING TO BMS                            Judge Patti B. Saris
CLASS ACTION:



                               DECLARATION OF ERIC MILLER

The undersigned, Eric Miller, hereby states that:

1.      I submit this Declaration in order to provide the Court and the parties to the above-

captioned litigation with information regarding the mailing and publication of the Notice

Program approved by the Court in its Order Granting Preliminary Approval of the BMS AWP

Class Settlement, as well as to provide the Court with details concerning claims administration

related to Classes 2 and 3 to date.


2.      I am the Managing Senior Project Administrator of Rust Consulting, Inc. (“Rust”). I am

over 21 years of age and am not a party to this action. I have personal knowledge of the facts set

forth herein, and if called as a witness, could and would testify competently hereto.


3.      Rust has been a Notice and/or Settlement Administrator for several pharmaceutical

settlements, such as: Hytrin1, Augmentin2, Lupron3, Paxil4, Relafen5, Remeron6, and Warfarin7,

which included both Third-Party Payor (“TPP”) and consumer classes.


1
  In re Terazosin Hydrochloride Antitrust Litigation (S.D.Fl. MDL No. 1317)
2
  Rosemarie Ryan House, et al. v. GlaxoSmithKline PLC and SmithKline Beecham Corporation (E.D.Va 2:02cv442)
3
  In Re Lupron® Marketing And Sales Practices Litigation (D.Ma. M.D.L. 1430)
4
  Nichols, et al., v. Smithkline Beecham Corporation (E.D.Pa. 00-CV-6222)
5
  In Re Relafen Antitrust Litigation (D.Ma. 01-CV-12239-WGY)
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Pursuant to the Preliminary Approval Order, Rust was appointed as the Settlement Administrator

to assist in the process of providing notice of the Settlement in this Action to potential TPP and

Consumer Class Members in the Class 1, 2 and 3 Settlement Classes.



4.         Rust maintains a mailing database of 41,916 potential TPP Class Members and record

keepers (the “TPP Mailing Database”) which consists of membership listings and existing

databases from the following sources:

                            a) Pharmacy Benefit Management Institute;
                            b) Health Insurance Association of America;
                            c) Benefits Sourcebook;
                            d) Managed Care Information Centers;
                            e) Judy Diamond Associates;
                            f) A.M. Best Company;
                            g) Association of Managed Care Providers;
                            h) Society of Professional Benefit Administrators;
                            i) American Association of Health Plans;
                            j) Self Insurers Institute of America; and
                            k) National Association of Insurance Commissioners.


5.           Rust developed the TPP Mailing Database in March 2001 as a proprietary mailing

database and it is maintained and regularly updated by Rust to be used in notifying TPP Class

members in settlements of large pharmaceutical antitrust litigations, including those referenced

in ¶ 3, above, as well as In re Lorazepam and Clorazepate Antitrust Litigation (MDL No. 1290);

Vista Healthplan, Inc., and Ramona Sakiestewa v. Bristol-Myers Squibb Co., and American

BioScience, Inc. (Civil Action No. 1:01CV01295 (EGS) (AK)); and In re Cardizem CD Antitrust

Litigation (MDL No. 1278). Rust continues to update the TPP Mailing Database with changes

6
    In Re: Remeron End Payor Antitrust Litigation (D.N.J. 02-2007 (FSH))
7
    In re Warfarin Sodium Antitrust Litigation (D.De. MDL No. 98-1232)


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of address and additional TPP Class members and record keepers as they are identified in

subsequent settlements.



6.       On September 8, 2010, pursuant to the Preliminary Approval Order, Rust mailed the

TPP Notice of Proposed Class Action Settlement and Third-Party Payor Claim Form (the “TPP

Notice Packet”) to 41,916 potential TPP Class members, using the TPP Mailing Database. A

copy of the TPP Notice Packet is attached hereto as Exhibit 1.



7.     As of this date, the United States Postal Service (“USPS”) has returned a total of 231 TPP

Notice Packets as undeliverable with a forwarding address. Rust subsequently re-mailed TPP

Notice Packets to each address provided by the USPS.



8.     As of this date, the USPS returned 1,666 TPP Notice Packets as undeliverable without

forwarding addresses. Rust utilized the services of an address database service, to which Rust

subscribes, to seek updated addresses. As a result, Rust received 290 updated addresses and

subsequently mailed TPP Notice Packets to the updated addresses.



9.     Kinsella/Media, LLC developed a Notice Plan to target Consumer and TPP Class

Members. Please refer to the Declaration of Katherine Kinsella, filed separately with this Court,

concerning the publication of notice to TPP and Consumer Class Members.



10.    Rust has acted as a repository for inquiries and communications from potential Class

Members. Pursuant to the Preliminary Approval Order, Rust established: (a) Post Office Box




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(24648, West Palm Beach, FL 33416), (b) toll-free telephone “hotline” (1-877-690-7097), (c)

settlement website (www.bmsawpsettlement.com).



11.    When calling the toll-free telephone number, the caller is able to listen to a pre-recorded

message which answers many frequently asked questions. The caller is then prompted to press a

telephone keypad number to contact a live “telephone representative” to answer additional

questions.   As of this date, 50 TPP callers have called the pre-recorded message and

approximately 48 of those requested to speak with a telephone representative.



12.    The website includes links to documents including the TPP Notice, the TPP Claim Form,

Court Documents, Frequently Asked Questions, Contact Information, the covered drug list which

contains J-codes the NDC List, and the Consumer Class 3 Notice, and the Class 3 Claim Form.

The website went “live” on August 16, 2010 and to date has been viewed over 18,099 times.

Please note that one individual may have visited the site multiple times.



13.    Rust has received 193 TPP claim forms to date.        As the deadline for filing of claims

(November 19, 2010) has not yet passed we anticipate additional claims from TPP’s up to and

through that date.



14.    As of this date, Rust has received 44 Class 3 Consumer claim forms. In addition, the

Consumer Class 3 Notice has been downloaded 73 times. Of those approximately 84% have

opted for the “Easy Refund Option”.




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                     EXHIBIT 1
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              Authorized by the U.S. District Court for the District of Massachusetts


       If You Are A Third-Party Payor And Made Reimbursements
          For Certain Bristol-Myers Squibb Chemotherapy Drugs

            You May Be Able To Receive A Substantial Payment
                From A Proposed Class Action Settlement

Summary of Proposed Settlement
    There is a Proposed Class Action Settlement with Bristol-Myers Squibb (“BMS”) concerning the
     drugs Blenoxane®, Cytoxan®, Etopophos®, Paraplatin®, Rubex®, Taxol® and Vepesid®
     (referred to as the “BMS Drugs”).
    The name of the lawsuit is In re: Pharmaceutical Industry Average Wholesale Price Litigation,
     Docket No. 01-C V-12257-PBS, MDL No. 1456 (D. Mass.).
    The lawsuit claims that Third-Party Payors (“TPPs”) who reimbursed any portion of their insureds’
     Medicare Part B co-payment or who reimbursed for these drugs outside of Medicare Part B based
     on the “average wholesale price” (“AWP”) paid more than they should have for these drugs.
    The lawsuit claims the AWP reported by BMS for the BMS drugs was false and inflated. AWPs
     were used to set the amount Medicare Part B, and most private insurers reimbursed for these drugs.
     BMS contends that it reported true and accurate list prices for its drugs and denies any wrongdoing
     and is settling to avoid the burden and expense of continued litigation.
    To avoid the burden and expense of continued litigation, BMS has agreed to pay $19 million to
     settle claims of TPPs as well as consumers who made percentage co-payments based on AWP.
    Under the terms of Settlement, 77% will be used to satisfy the claims of TPPs who file claims. The
     remaining 23% of the total Settlement amount will be set aside exclusively to satisfy the claims of
     consumers.
    Generally speaking, you are a member of one of the Settlement Classes:
            If you reimbursed any portion of an insured’s Medicare Part B co-payment for any of these
            drugs from January 1, 1991 through December 31, 2004; or
            If you made reimbursements outside of Medicare Part B for any of these drugs from
            January 1, 1991 through December 31, 2004.


                      Your Legal Rights Are Affected Even If You Do Not Act.
                                     Read This Notice Carefully.
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                                            Basic Information

1.   Why Did I Get This Notice?
You were mailed this Notice because records indicate you are a TPP who may provide pharmaceutical
coverage for your insureds. Or, you may have requested this Notice after seeing the Summary Notice in a
publication.

2.   What Is The Lawsuit About?
The lawsuit claims that BMS reported false and inflated AWPs for the BMS drugs at issue in this case.
The lawsuit claims that the reported AWPs were used to set reimbursement amounts that were paid by
Medicare and its beneficiaries and to set the reimbursement by private health insurers and consumers
making percentage co-payments under private health insurance plans. The lawsuit asks the Court to award
money damages to TPPs who made reimbursements under Medicare Part B for the drugs at issue or who
reimbursed outside of Medicare Part B based on AWP.
BMS contends that it reported true and accurate list prices for its drugs and denies any wrongdoing. The
Proposed Settlement is not an admission of wrongdoing or an indication that any law was violated. BMS
has entered into the Proposed Settlement to avoid further expense and inconvenience.

3.   Why Is This A Class Action?
In a class action lawsuit, one or more people called “class representatives” sue on behalf of people who
have similar claims. The people together are a “class” or “class members.” A court must determine if a
lawsuit should proceed as a class action. If it does, a trial then decides the lawsuit for everyone in the
class. Sometimes, the parties may settle without a trial.
The Parties here have agreed to a Proposed Settlement that includes a national class of TPPs who
reimbursed, or incurred obligations to reimburse, any portion of a Medicare Part B co-payment for the
drugs at issue. The Proposed Settlement also includes a national class of TPPs who made reimbursements
for these drugs outside of Medicare Part B based on AWP. The Court has preliminarily approved this
Proposed Settlement but will hold a Hearing to decide whether it should be finally approved. (See
Question 13.)

4.   How Do I Know If I Am Included In The Proposed Settlement?
Generally speaking, you are a member of one of the Settlement Classes if you reimbursed (or incurred an
obligation to reimburse) any portion of an insured’s Medicare Part B co-payment for any of these drugs
from January 1, 1991 through December 31, 2004; or you made (or incurred an obligation to make)
reimbursements outside of Medicare Part B for any of these drugs from January 1, 1991 through December
31, 2004. You do not need to do anything to become part of one of these Settlement Classes, but you must
complete the Claim Form in order to be able to receive money.
Excluded from the Proposed Settlement are (1) consumers who made flat co-payments, who were
reimbursed fully for their payments, or who have the right to be fully reimbursed, and (2) BMS and certain
related entities as defined in the Settlement Agreement. Also excluded from the Proposed Settlement are
all federal, state, and local government entities in the United States, except any such governmental agencies
or programs that made or incurred an obligation to make a reimbursement for a Class Drug as part of a
health benefit plan for their employees, but only with respect to such payment.




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                         Benefits Of The Proposed Settlement – What You Get

5.       What Does The Proposed Settlement Provide?
BMS will pay $19 million to settle the lawsuit. This amount is meant to satisfy the claims of both TPPs
who meet the criteria for inclusion in one of the two Settlement Classes as well as claims by consumers
who made percentage co-payments and full cash payments based on the published AWP. All costs
associated with notice and administration, attorneys’ fees and litigation costs, and compensation to the
named class representatives for time spent providing documents and testimony in connection with this case
will be paid from the $19 million settlement amount, except that BMS will pay 50% of the costs of notice
up to $1 million. The Court must approve all aspects of this Proposed Settlement.
Under the Agreement, 77% of the net settlement amount will be designated to satisfy the claims of TPPs.
The remaining 23% of the net settlement amount will be designated for the purpose of paying consumer
claims. Consumers and TPPs are sharing the costs of notice and administration equally.

6.       How Do I File A Claim?
Attached to this Notice is a Claim Form. You must fill out the Claim Form and submit it to the Claims
Administrator, received or postmarked no later than November 19, 2010, and addressed to:
                                 BMS AWP TPP Settlement Administrator
                                          P.O. Box 24648
                                     West Palm Beach, FL 33416
As part of your claim, you must provide the backup information and certifications requested on the
Claim Form.

7.       How Are Payments Determined?
How much you receive from this Proposed Settlement depends on the volume and amount of claims
submitted by other TPP Settlement Class Members.

         TPP Settlement Class Members are required to provide the amount of reimbursements for certain
          drugs at issue from January 1, 2003 to December 31, 2003. This one-year period will be used to
          determine the portion of the Settlement Amount that will be paid to each TPP submitting valid
          claims.

         TPP Settlement Class Member’s portion of the Settlement Amount will be based upon their
          reimbursements for the BMS Drugs.

         If total valid TPP Settlement Class Member claims exceed the total portion of the settlement set
          aside to satisfy the claims of TPPs, all TPP claims will be reduced proportionately.

                           Excluding Yourself from the Proposed Settlement

8.       What If I Do Not Want to Be Included in the Proposed Settlement?
If you do not want to be in the Settlement Classes and you want to keep the right to sue BMS about the same
claims on your own, you must take steps to get out of the Settlement Classes. This is called excluding
yourself.
By excluding yourself, you keep the right to file your own lawsuit or join another lawsuit against BMS
about the claims in this lawsuit. (If you do not exclude yourself, you will be releasing AWP pricing-related
claims against BMS and other Released Parties. You will not be releasing unrelated claims, such as

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product liability, breach of warranty, or personal injury claims. For further details, see “Getting More
Information” below.)
If you exclude yourself from the Settlement Classes, however, you will not be able to file a claim for money
and you will not be included in the Proposed Settlement.

9.   How Do I Exclude Myself from the Proposed Settlement?
You can exclude yourself from the Proposed Settlement by sending a letter that includes all of the
following:
     Your name, address, and telephone number;
     The name and number of the lawsuit: In re: Pharmaceutical Industry Average Wholesale Price
       Litigation, Docket No. 01-CV-12257-PBS, MDL No. 1456;
     If you have hired your own lawyer, the name, address, and telephone number of your lawyer;
     A statement that you want to be excluded from the Settlement Classes and
     A signed certification containing the following language:
        The undersigned individual hereby represents that he/she has the authority to sign and submit this
notice of exclusion on behalf of the above-named class member. The undersigned also certifies that
he/she has not received any advice from the parties to this litigation or their attorneys concerning his/her
or the class member’s fiduciary obligations under the Employee Retirement Income Security Act of 1974,
29 U.S.C. § 1100, et seq., or other laws governing their obligations at any class member. The undersigned
understands that by submitting this notice of exclusion, the class member identified above will not be
entitled to receive any proceeds of the class Settlement Fund. By affixing my signature below, I certify
under penalty of perjury that the foregoing is true and correct. 28 U.S.C. § 1746.
In addition, you are requested to provide the amount paid for each Class Drug at issue during January 1,
2003 to December 31, 2003. Your letter requesting exclusion must be mailed first class, received no
later than October 29, 2010, to:
                                BMS AWP TPP Settlement Administrator
                                         P.O. Box 24648
                                    West Palm Beach, FL 33416
Please remember that you cannot exclude yourself by calling or by sending an email. Failure to
exclude yourself pursuant to the above instructions will result in you being barred by the Settlement
if it is approved.

                      Objecting to or Commenting on the Proposed Settlement

10. May I Object To, Or Comment On, the Proposed Settlement?
Yes. If you have comments about, or disagree with, any aspect of the Proposed Settlement, you may
express your views to the Court through a written response to the Proposed Settlement. The written
response should include your name, address, telephone number and a brief explanation of your reasons for
objection. The document must be signed to ensure the Court’s review. The response must be filed with
the Court at the following address on or before October 29, 2010:
                                            Clerk of Court
                                 John Joseph Moakley U.S. Courthouse
                                    1 Courthouse Way, Suite 2300
                                     Boston, Massachusetts 02210


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and served on Counsel for the Parties on or before October 29, 2010 at the following addresses:

               Counsel for the Class                             Counsel for BMS
               Steve W. Berman                                   Lyndon M. Tretter
               Hagens Berman Sobol Shapiro LLP                   Hogan Lovells US LLP
               1918 Eighth Avenue, Suite 3300                    875 Third Avenue
               Seattle, WA 98101                                 New York, NY 10022
In addition, your document must clearly state that it relates to the following Civil Action Number: 01-CV-
12257-PBS, MDL No. 1456. If you object to or comment on the Proposed Settlement, you will be
subject to the jurisdiction of the Court.

                                   The Lawyers Representing You

11. Do I Have A Lawyer Representing My Interests In This Case?
Yes. The Court has appointed the following law firms to represent you and other Class Members:
           Hagens Berman Sobol Shapiro LLP                   Spector Roseman Kodroff & Willis, PC
           www.hbsslaw.com                                   www.srk-law.com
           1918 Eighth Avenue, Suite 3300                    1818 Market Street, Suite 2500
           Seattle, WA 98101                                 Philadelphia, PA 19103
                     and
           55 Cambridge Parkway, Suite 301                   Wexler Wallace LLP
           Cambridge, MA 02142                               www.wtwlaw.us
                                                             55 West Monroe Street, Suite 3300
           Edelson & Associates LLC                          Chicago, IL 60602
           45 West Court Street
           Doylestown, PA 18901
These lawyers are called Class Counsel. You will not be charged personally for these lawyers, but they
will ask the Court to award them a fee of up to 33 1/3 % of the Settlement Amount, plus interest. In
addition, Class Counsel will request reimbursement of the expenses and costs associated with litigation of
this case. The fee will be paid out of the $19 million Settlement Amount as will any reimbursement of
litigation costs and expenses awarded by the Court. More information about Class Counsel and their
experience is available at the websites listed above.

12. Should I Get My Own Lawyer?
You don’t need to hire your own lawyer. However, if you want your own lawyer to speak for you or
appear in Court, you must file a Notice of Appearance. (See Question 15.) If you hire a lawyer to appear
for you in this case, that will be at your own expense.

                                The Court’s Final Approval Hearing

13. When And Where Will The Court Decide On Whether To Grant Final Approval Of The
Proposed Settlement?
The Court will hold a Final Approval Hearing on November 19, 2010 at 2:00 p.m. to consider whether the
Proposed Settlement is fair, reasonable and adequate. At the Hearing, the Court will decide whether to
approve the Proposed Settlement and the request for attorneys’ fees and expenses. If comments or
objections have been received, the Court will consider them at this time.


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Note: The Hearings may be postponed to a different date without additional notice. Updated information
will be posted on the BMS AWP Settlement website at www.BMSAWPSettlement.com.

14.       Must I Attend The Final Approval Hearing?
No. Attendance is not required, even if you properly mailed a written response. Class Counsel is prepared
to answer the Court’s questions on your behalf. If you or your personal attorney still want to attend the
Hearing, you are more than welcome at your expense. However, it is not necessary that either of you attend.
As long as the objection was received on or before the deadline, the Court will consider it.

15. May I Speak At The Final Approval Hearing?
Yes. If you or your own lawyer want to speak, instead of Class Counsel, at the Final Approval Hearing,
you must give the Court a paper that is called a “Notice of Appearance.” The Notice of Appearance should
include the name and number of the lawsuit, and state that you wish to enter an appearance at the Final
Approval Hearing. It also must include your name, address, telephone number and signature.
Your “Notice of Appearance” must be filed with the Court on or before October 29, 2010 and served on
Counsel listed in Question 10 above on or before October 29, 2010. You cannot speak at the Hearing if you
previously asked to be excluded from the Proposed Settlement Classes and are not submitting a claim form
now. The Notice of Appearance must be filed with the Court and served on Counsel at the addresses set
forth above in response to Question 10.
The Notice of Appearance must be filed using the following Civil Action Number: 01-CV-12257-PBS, MDL
No. 1456.


                                        Getting More Information

16. Where Do I Obtain More Information?
More details are in the Complaint filed by Class Counsel, the Answers filed by BMS, and the other legal
documents that have been filed with the Court in this lawsuit. These documents include the BMS AWP
Settlement Agreement and Release, which sets forth in great detail the Settlement’s provisions. You can
look at and copy these legal documents at any time during regular office hours at the Office of the Clerk of
Court, John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Suite 2300, Boston, Massachusetts 02210,
or via the internet at www.BMSAWPSettlement.com.
In addition, if you have any questions about the lawsuit or this Notice, you may:
             Visit the BMS Settlement website at www.BMSAWPSettlement.com;
             Call toll free 1-877-690-7097; or
             Write to: BMS AWP TPP Settlement Administrator
                        P.O. Box 24648
                        West Palm Beach, FL 33416


DATED: July 29, 2009                                     By Order of the United States District Court
                                                         District of Massachusetts
                                                         /s/ The Honorable Judge Patti B. Saris




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BMS AWP TPP Settlement Administrator
P.O. Box 24648
West Palm Beach, FL 33416




                                 IMPORTANT COURT DOCUMENTS
                    A TTENTION : P RESIDENT /CEO, F UND A DMINISTRATOR
                                 OR L EGAL D EPARTMENT
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                                                                                                    OFFICIAL USE ONLY
     MUST BE POSTMARKED
                                          BMS AWP SETTLEMENT
       NO LATER THAN
      NOVEMBER 19, 2010              THIRD-PARTY PAYOR CLAIM FORM

                         In re: Pharmaceutical Industry Average Wholesale Price Litigation
                                    Docket No. 01-CV-12257 PBS, MDL No. 1456

To get a share of the Settlement Fund, you need to complete and sign this Claim Form and submit it to:

                                        BMS AWP TPP Settlement Administrator
                                                  P.O. Box 24648
                                             West Palm Beach, FL 33416
                  This Claim Form must be received or postmarked no later than November 19, 2010.

The information you provide will be kept confidential and will be used only for administering this settlement. If you have
any questions, please call the Claims Administrator at 1-877-690-7097.

A TPP Settlement Class Member (“Class Member”) or an authorized agent can complete this Claim Form. If both a Class
Member and its authorized agent submit a Claim Form, the Claims Administrator will only consider the Class Member’s
Claim Form. The Claims Administrator may request supporting documentation. The claim may be rejected if any requested
documentation is not provided.
If one or more Class Members has authorized you to submit a Claim Form on its behalf, you must provide the
information requested in Section B in addition to the other information requested by this Claim Form. You may submit a
separate Claim Form for each Class Member that has duly authorized you to do so, OR you may submit one Claim Form
for all such Class Members that have authorized you to do so. If you are submitting Claim Forms both on your own
behalf as a Class Member AND on behalf of one or more Class Members that have authorized you to do so, you should
submit one Claim Form for yourself and another Claim Form for the other Class Member(s). Do not submit a Claim Form
on behalf of any Class Member without specific prior authorization from that Class Member.

SECTION A – CLAIMANT IDENTIFICATION
Please indicate whether you are claiming on your own behalf as a Class Member or as the authorized agent of
one or more Class Members by placing an “X” in the appropriate space below. If you wish to make a claim as a
Class Member and also as the authorized agent of other Class Members, please complete one Claim Form for
your claim as a Class Member and a separate Claim Form for those Class Members for whom you are authorized
to submit a claim:


           I am the Class Member           I am filing as the Authorized Agent of a Class Member**
                                            ** As Authorized Agent, please check how your relationship with the Class Member is
                                               best described:

                                            Third Party Administrator (other than a Pharmacy Benefits Manager)
                                            Pharmacy Benefits Manager
                                            Other (Explain): __________________________________________


  *BMST*                                                                                        *1-4*
                                                                                                *1-6*
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SECTION B – CLASS MEMBER OR AGENT INFORMATION
Class Member’s/Authorized Agent’s Name


Street Address                                                                         Floor/Suite


City                                                          State                    Zip Code


Area Code – Telephone Number                                  Area Code – Fax Number


Class Member’s/Authorized Agent’s Tax Identification Number



If you file as a Class Member, list other names by which you have been known or other Federal Employer
Identification Numbers (“FEINs”) you have used from January 1, 1991 through December 31, 2004.




If you are filing as the Class Member, check the term below that best describes your company/entity:

F      Health Insurance Company/HMO                   F       Self-Insured Employee Health Plan

F      Self-Insured Union Health & Welfare Fund       F       Other (Explain):


SECTION C – CLAIM BY AUTHORIZED AGENT
Please list the name and FEIN of every Class Member for whom you have been duly authorized to submit this
Claim Form (attach additional sheets to this Claim Form as necessary). Alternatively, you may submit the
requested list of Class Member names and FEINs in an acceptable electronic format. Please contact the Claims
Administrator to determine what formats are acceptable.




                                                                                        *2-4*
                                                                                        *2-6*
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SECTION D – TOTAL AMOUNT OF BMS DRUG PURCHASES
For the Class Member on whose behalf you are submitting a claim, state the total and final amount paid or
reimbursed, net of rebates, chargebacks, co-pays, and/or co-insurance for each BMS Drug set out in the chart below
with a date of service or date of fill from January 1, 2003 to December 31, 2003. If you are claiming more than
$300,000, you will need to provide additional information (See Section F):

       Drug Name                   MediGap TPP Class                               Private Payor TPP Class
       Blenoxane          $                                                 $


        Cytoxan           $                                                 $


       Etopophos          $                                                 $


       Paraplatin         $                                                 $


          Rubex           $                                                 $


          Taxol           $                                                 $


        Vepesid           $                                                 $


         TOTAL $          $                                                 $


Claimant certifies that the figures are true and accurate and are based upon actual records maintained by or otherwise
available to the claimant.

SECTION E – JURISDICTION OF THE COURT AND CERTIFICATION
By signing below, I hereby swear and affirm that: (1) I have authority to submit this Claim Form either directly or on behalf
of the Class Member or as its Authorized Agent, and, in turn, have been given the authority to submit this Claim Form
by each Class Member identified in this Claim Form and in any attachments to it, and to receive on behalf of each such
Class Member any and all amounts that may be allocated from the TPP Settlement Pool to such Class Member; (2) the
information contained in this Claim Form and any attachments hereto is true and accurate, based on records maintained
by or otherwise available to me; (3) I, the Authorized Agent (if any), and the Class Member on whose behalf this Claim
Form is submitted, hereby submit to the jurisdiction of the United States District Court for the District of Massachusetts
(the “Court”) for all purposes associated with this Claim Form and the Settlement, including resolution of disputes
relating to this Claim Form; (4) in the event that amounts from the TPP Settlement Pool are distributed to the Authorized
Agent of a Class Member, and the Class Member later claims that the Authorized Agent did not have the authority to
claim and receive such amounts on its behalf, the Authorized Agent, I, and/or my employer will hold the Class, Counsel
for the Class, Defendants, Counsel for Defendants, and the Claims Administrator harmless with respect to any claims
made by said Class Member.
Signature                                                               Position


Print Name                                                              Month/Day/Year




                                                                                                *3-4*
                                                                                                *3-6*
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The following additional information is to be provided by the Individual that signs and certifies this Claim Form: I
am filing this Claim Form as the authorized employee of the following Class Member or Authorized Agent for a
Class Member:
Name of Individual’s Employer


Business Address                                                                              Floor/Suite


City                                                               State                      Zip Code


Area Code – Telephone Number                                       Area Code – Fax Number


Email Address


Mail the completed Claim Form to the address listed on page 1, postmarked no later than NOVEMBER 19, 2010.

SECTION F – CLAIM DOCUMENTATION INSTRUCTIONS
If you are claiming less than $300,000 of total purchases of all BMS Drugs for the 2003 period, you do not need to attach
any additional information. However, even if your purchase amount is less than $300,000, you should retain the
information required for claims over $300,000 because any claim may be audited.

If you are claiming $300,000 or more of total purchases of all BMS Drugs you must provide documentation with your
Claim Form to have your claim considered by the Claims Administrator. Please provide the required data fields necessary
for your participation as a TPP Class Member as presented in the Data Field Layout sample on page 5, for all paid claims
with a date of service or date of fill between January 1, 2003 to December 31, 2003 net of co-pay deductibles or co-
insurance. Please provide this data along with the Claim Form to the Claims Administrator received or postmarked no
later than November 19, 2010:
1.      J-Code or NDC Number – provide the applicable J-Code or NDC Number for each transaction. A list of the J-
        Codes and NDC Numbers are annexed as Attachment A.
2.      Patient Identifier – provide a random encrypted patient identification number. This number must consistently
        reflect the same patient.
3.      Service and/or Fill Date – we expect service date will be available for J-Code entries and fill date will be available
        for NDC entries. Please include both if they are available.
4.      Group Number – provide the group number assigned to each transaction. As part of the auditing process, you
        may be asked to provide the corresponding group name for each group number. Only the Claims Administrator
        will have access to this information.
5.      Amount Billed – billed charges or the initial amount billed by the provider or providers before any adjustments.
6.      Net Amount Paid – final amount paid for each discrete transaction, net of co-pays, deductibles, co-insurance,
        and any other credits and adjustments after initial payment.




                                                                                                 *4-4*
                                                                                                 *4-6*
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OTHER INFORMATION
  •      If you are able, please provide units for each transaction.
  •      Please provide the electronic data in either Mircosoft Excel format or ASCII flat file pipe delimited “I” or
         fixed-width format. Refer to the sample layout below.
  •      Finally, please provide a list of all self-funded healthcare plans (“SFPs”) for which you are authorized to make
         a claim.
  •      All information you provide is subject to the protective order governing this action.




                               Data Field Layout for Claims of $300,000 or More


         NDC                Patient          Service/Fill          Group            Amount              Net Amount
      or J-Code            Identifier           Date              Number             Billed                 Paid

                                                                                $                   $


                                                                                $                   $


                                                                                $                   $


                                                                                $                   $


                                                                                $                   $


                                                            COLUMN TOTALS       $                   $


                                                              TOTAL CLAIM       $




                                                              5
                                                                                                 *5-6*
                                                                                                                          ATTACHMENT A - LIST OF J-CODES AND NDC NUMBERS




                                                                                                                                                                                                                                              *6-6*
                                                                          NDC        DRUG             DESCRIPTION                 NDC        DRUG              DESCRIPTION                 NDC              DRUG          DESCRIPTION
                                                                      00015301020   Blenoxane BLENOXANE INJ 15 UNIT VL        00015340420   Etopophos ETOPOPHOS 100MG VIAL            00015309595           Vepesid   VEPESID 20 MG/ML VIAL
                                                                      00015301026   Blenoxane BLENOXANE INJ 15 UNIT VHA       00015321030   Paraplatin PARAPLATIN 50 MG/5 ML VIAL     00015309597           Vepesid   VEPESID 20MG/ML AMPUL
                                                                      00015301097   Blenoxane BLENOXANE 15 UNITS VIAL         00015321076   Paraplatin PARAPLATIN 50 MG/5 ML VIAL     00015309615           Vepesid   VEPESID 10MG/ML VIAL
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                                                                      00015306301   Blenoxane BLENOXANE INJ 30 UNIT VL        00015321130   Paraplatin PARAPLATIN 150 MG/15 ML VIAL   00015309695           Vepesid   VEPESID 10MG/ML VIAL
                                                                      00015306326   Blenoxane BLENOXANE INJ 30 UNIT VHA       00015321176   Paraplatin PARAPLATIN 150 MG/15 ML VIAL
                                                                      00015050001   Cytoxan   CYTOXAN FOR INJ 100 MG          00015321230   Paraplatin PARAPLATIN 450 MG/45 ML VIAL
                                                                      00015050041   Cytoxan   CYTOXAN INJ 100MG               00015321276   Paraplatin PARAPLATIN 450 MG/45 ML VIAL
                                                                      00015050141   Cytoxan   CYTOXAN INJ 200MG               00015321310   Paraplatin PARAPLATIN 50MG W/CYTO
                                                                      00015050241   Cytoxan   CYTOXAN INJ 1X500MG VIAL        00015321329   Paraplatin PARAPLATIN 1 0X5ML VHA+
                                                                      00015050301   Cytoxan   CYTOXAN TABS 50MG               00015321330   Paraplatin PARAPLATIN 50MG LYOPHILIZ
                                                                      00015050302   Cytoxan   CYTOXAN TABLETS 50MG            00015321410   Paraplatin PARAPLATIN 150MG LYOPH CY                   J-CODE
                                                                      00015050303   Cytoxan   CYTOXAN TABLETS 50 MG           00015321429   Paraplatin PARAPLATIN 1 0X1 5ML VHA+      Drug                  J-Code
                                                                      00015050348   Cytoxan   CYTOXAN TABS 50MG               00015321430   Paraplatin PARAPLATIN 1X150MG LYO VL      Blenoxane             J9040
                                                                      00015050401   Cytoxan   CYTOXAN TABS 25MG               00015321510   Paraplatin PARAPLATIN 450MG VL W/CYT      Cytoxan               J8530
                                                                      00015050541   Cytoxan   CYTOXAN PINJ 1X1G VIAL          00015321529   Paraplatin PARAPLATIN 10X45ML VHA+                              J9070
                                                                      00015050641   Cytoxan   CYTOXAN INJ 1X2GM VIAL          00015321530   Paraplatin PARAPLATIN 1X450MG LYO VL                            J9080
                                                                      00015053910   Cytoxan   CYTOXAN 100MG LYOPH W/CYT       00015321630   Paraplatin PARAPLATIN 600 MG/60 ML VIAL                         J9090
                                                                      00015053941   Cytoxan   CYTOXAN LYOPHILIZED 100MG       00015335122    Rubex    RUBEX 10MG LYOPHILIZED                                J0991
                                                                      00015054610   Cytoxan   CYTOXAN 200MG LYOPH W/CYT       00015335124    Rubex    RUBEX 10MG IMMUNEX LABEL                              J9092
                                                                      00015054641   Cytoxan   CYTOXAN LYOPHILIZED 200MG       00015335222    Rubex    RUBEX 50MG LYOPHILIZED                                J9093




                                                                                                                                                                                                                                               6
                                                                      00015054710   Cytoxan   CYTOXAN 500MG LYOPH W/CYT       00015335224    Rubex    RUBEX 50MG IMMUNEX LABEL                              J9094
                                                                      00015054712   Cytoxan   CYTOXAN LYO 500MG VL VHA        00015335322    Rubex    RUBEX 100 MG LYOPHILIZED                              J9095
                                                                      00015054741   Cytoxan   CYTOXAN LYOPH 500MG             00015335324    Rubex    RUBEX 100MG IMMUNEX LABEL                             J9096
                                                                      00015054810   Cytoxan   CYTOXAN 1 GM LYOPH W/CTYOG      00015345620    Taxol    TAXOL 30MG CONC FOR INJ                               J9097
                                                                      00015054812   Cytoxan   CYTOXAN 1G 6X50ML VHA+          00015345699    Taxol    TAXOL 30MG/5ML VIAL             Etopophos             J9181
                                                                      00015054841   Cytoxan   CYTOXAN LYOPHILIZED 1GM         00015347520    Taxol    TAXOL 30MG/5ML VHA+ LABEL                             J9182
                                                                      00015054910   Cytoxan   CYTOXAN 2GM LYOPH W/CYTOG       00015347527    Taxol    TAXOL 30MG SEM-SYN VIAL                               J8560
                                                                      00015054912   Cytoxan   CYTOXAN 2G 6X100ML VHA+         00015347530    Taxol    TAXOL 30MG INJ MULTIDOSE        Paraplatin            J9045
                                                                      00015054941   Cytoxan   CYTOXAN LYOPHILIZED 2GM         00015347620    Taxol    TAXOL 100MG/16.7ML VHA+ L       Rubex                 J9000
                                                                      00087050001   Cytoxan   CYTOXAN 100MG VIAL              00015347627    Taxol    TAXOL 100MG SEM-SYN VIAL                              J9001
                                                                      00087050041   Cytoxan   CYTOXAN 100MG VIAL              00015347630    Taxol    TAXOL 100MG INJ MULTIDOSE       Taxol                 J9265
                                                                      00087050101   Cytoxan   CYTOXAN 200MG VIAL              00015347911    Taxol    TAXOL 300MG/50ML VIAL           Vepesid               J9181
                                                                      00087050141   Cytoxan   CYTOXAN 200 MG VIAL             00015306120   Vepesid   VEPESID 500MG                                         J9182
                                                                      00087050201   Cytoxan   CYTOXAN 500MG VIAL              00015306124   Vepesid   VEPESID 500MG 25ML VL VHA                             J8560
                                                                      00087050241   Cytoxan   CYTOXAN 500MG VIAL              00015306220   Vepesid   VEPESID 1GM/50ML
                                                                      00087050301   Cytoxan   CYTOXAN 50MG TABLET             00015306224   Vepesid   VEPESID 1G 50ML VIAL VHA+
                                                                      00087050302   Cytoxan   CYTOXAN 50MG TABLET             00015308420   Vepesid   VEPESID INJ 150MG/7.5ML
                                                                      00087050303   Cytoxan   CYTOXAN 50MG TABLET             00015309145   Vepesid   VEPESID 50MG CAPSULES
                                                                      00087050401   Cytoxan   CYTOXAN 25MG TABLET             00015309510   Vepesid   VEPESID 100MG VIAL W/CYTO
                                                                                                                                                                                                                    *6-6*
                                                                      00087050541   Cytoxan   CYTOXAN 1GM VIAL                00015309519   Vepesid   VEPESID 20MG/ML AMPUL
                                                                      00087050641   Cytoxan   CYTOXAN 2GM VIAL                00015309520   Vepesid   VEPESID INJ 100MG/5ML
                                                                      00087054741   Cytoxan   CYTOXAN LYOPHILIZED 500MG       00015309530   Vepesid   VEPESID 100MG VL W/O CYTO
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                      EXHIBIT 2
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Exclusion Report                                                                                                           11/12/2010 06:02 PM
PROJECT: BMS AWP TPP - Database: BMST                                                                                               Page 1 of 1
Report Criteria: None                                                                                                            Report ID :EXC15001


                            EXCL ID      FULL NAME

                            1            ST PETERSBURG TIMES
                            2            LERROI INTERNATIONAL
                            3            KOCH COMPANIES
                            4            SUTTER HEALTH
                            5            HAY GROUP INC
                            6            BURLINGTON DRUG COMPANY
                            7            RLI CORP.
                            8            THE MATH WORKS
                            9            FRANA COMPANIES
                            10           MCDONALDS
                            11           MISSISSIPPI STATE & SCHOOL EMPLOYEES

                            TOTAL NUMBER OF EXCLUSIONS: 11




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confidential. It is intended for the use of Rust Consulting, Inc.
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            CERTIFICATE OF SERVICE BY LEXISNEXIS FILE & SERVE
                            Docket No. MDL 1456

        I, Steve W. Berman, hereby certify that I am one of plaintiffs’ attorneys and that, on
November 12, 2010, I caused copies of DECLARATION OF ERIC MILLER to be served on
all counsel of record by causing same to be posted electronically via Lexis-Nexis File & Serve.


                                             /s/ Steve W. Berman
                                            Steve W. Berman




Document2
